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                                   No. 23-8054



               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT




                               Jake Stanley DeWilde


                                                      Plaintiff - Appellant,


                                         v.


                  Attorney General of the United States; Director of the
                 Bureau of Alcohol, Tobacco, Firearms, and Explosives,


                                                      Defendants - Appellees.


    On Appeal from the United States District Court for the District of Wyoming
                 The Honorable Chief Judge Scott W. Skavdahl
                            No. 1:23-cv-00003-SWS


                          APPELLANT’S REPLY BRIEF
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                                  INTRODUCTION

       18 U.S.C. § 922(o) is unconstitutional. The statute violates the Second

 Amendment right to possess the U.S. military’s standard-issue service rifle, the M-

 16. In its response brief, the government argues in support of the ban primarily by

 classifying machineguns as “dangerous and unusual,” not in “common use,” and

 prohibited by Heller’s dicta. This obsolete, pre-Bruen practice of disjoining Second

 Amendment conduct as unprotected by pointing to Heller’s enfeebled dicta and

 abrogated post-Heller methodology does not comport with the updated, binding

 Supreme Court precedent that this Court must adhere to.

       Bruen clarified the text, history, and tradition test that Heller established.

 Courts must determine [1] whether the plain text of the Second Amendment covers

 an individual’s conduct, and [2] whether the government evinces a historical

 tradition of regulating the presumptively unconstitutional regulation. Despite the

 first prong being a straightforward, strictly textual analysis, the government

 improperly conducts much of its analysis, particularly of historical traditions, at the

 first prong. But historical traditions must be demonstrated at the second prong, not

 at the textual analysis. This high bar represents the crux of Bruen’s clarifications

 and, in this challenge, an insurmountable mountain that the government’s argument

 attempts to circumnavigate. Indeed, the government bears the sole burden at the

 second prong of the Bruen analysis, at which there is no historical analogue that
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 justifies its presumptively unconstitutional prohibition. Because there is no historical

 tradition of totally banning the possession of our Nation’s commonly-used standard-

 issue service rifle, the challenged statute is unconstitutional.1

                                     ARGUMENT

 I.    DeWilde has Suffered an Injury.

       The district court sua sponte concluded that DeWilde has not demonstrated

 an injury-in-fact. The government defends that conclusion by erroneously arguing

 that the title he held when he submitted his Form 1 application separates him

 individually from restrictions imposed on his trust.2 But despite these arguments,3

 DeWilde was not required to submit any application whatsoever to have Article III

 standing. DeWilde’s “desire[] to own an M16 machinegun” alone demonstrates an

 injury. ROA, Vol. 1, at 79. The government refutes this assertion by pointing to

 Baker v. USD 229 Blue Valley, 979 F.3d 966, 874 (10th Cir. 2020) (plaintiff’s desire

 to “exercise certain ‘options’ for [her son’s] home schooling or care” did not confer

 an injury); Summers v. Earth Island Inst., 555 U.S. 488 (2009) (expressing a desire


 1
   This reply brief is intended solely to respond to the government’s contentions
 requiring further discussion for proper determination of issues raised on appeal. This
 brief does not respond to issues that DeWilde believes were adequately discussed in
 his opening brief, and DeWilde intends no waiver of those issues by not expressly
 reiterating them here.
 2
   Aple. Br. at 11-13.
 3
   DeWilde addressed these arguments in his opening brief. See Aplt. Br. at 5-9.
                                             2
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 to visit a national forest does not confer an injury); and National Rifle Ass’n of Am.

 V. Magaw, 132 F.3d 272, 293 (6th Cir. 1997) (a desire to engage in “possibly”

 prohibited activities did not confer standing). None of these three cases support the

 government’s argument.

       Neither the proposed conduct nor the challenged regulations in both Baker

 and Summers finds any similar comparisons to the instant case. And although, like

 DeWilde, the plaintiffs in National Rifle Ass'n desired to possess prohibited

 weapons, their lack of standing was also in part due to just a “mere ‘possibility of

 criminal sanctions applying’” to them. National Rifle Ass'n, 132 F.3d at 293. Here,

 there is no dispute that the challenged statute is absolutely enforced. Furthermore, to

 any extent that National Rifle Ass'n is comparable to the instant case, this Court is

 not bound by Sixth Circuit precedence.

       More importantly, these three cases do not predominate the eight cases

 DeWilde provided in his opening brief, where the circumstances surrounding the




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 standing of the individuals were actually comparable to DeWilde’s. 4 See Aplt. Br.

 at 9-11. And unlike National Rifle Ass'n, which was decided more than a decade

 prior to Heller, all of DeWilde’s supporting cases are post-Heller (to be sure, most

 are post-Bruen), and thus more relevant in the context of Second Amendment

 jurisprudence. Indeed, the Supreme Court did not question Mr. Heller’s “wish[]” to

 possess a prohibited arm, a handgun; his Article III standing was undisputed. Heller,

 554 U.S. at 575. There should be no doubt as to whether a desire to engage in

 conduct proscribed by a statute, but constitutionally-protected, confers an injury. But

 if doubt remains, this Court need not look further than Bruen to confirm that an

 injury exists.

       Reaffirming the holding in Heller that a wish, desire, or want to engage in

 prohibited, constitutionally-protected conduct confers an injury, Bruen found that

 the two individual petitioners had demonstrated an injury-in-fact. Their

 demonstration was virtually identical to what DeWilde has demonstrated. Mr. Nash




 4
   The government, analyzing Rocky Mountain Gun Owners v. Polis, No. 23-1251
 (10th Cir. 2023), differentiates that unlike DeWilde, the “plaintiffs in that case
 appear to have submitted declarations purporting to substantiate an intent to violate
 the law.” Aple. Br. at 10 n.2. But this observation is irrelevant, because “[DeWilde]
 need not violate the law to challenge it.” Frank v. Lee, No. 21-8058 (10th Cir. Oct.
 23, 2023). Both DeWilde and the Rocky Mountain Gun Owners plaintiffs have the
 same ultimate intention: “to engage in a course of conduct arguably affected with a
 constitutional interest, but proscribed by a statute,” e.g., to possess prohibited arms.
 Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014).
                                            4
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  “simply wanted to carry a handgun for self-defense.” Bruen, slip op. at 6 (emphasis

  added). Mr. Koch similarly just “wanted a handgun for general self-defense.” Id. at

  7 (emphasis added). The Article III standing of petitioners in Bruen was undisputed.

  Accordingly, even if DeWilde had merely submitted his complaint without having

  submitted a Form 1 application, his “desire[] to own an M16 machinegun for all

  lawful purposes” independently demonstrates an injury-in-fact, and sequentially

  Article III standing. ROA, Vol. 1, at 79.

 II.    Section 922(o) does Not Comport with the Second Amendment.

  A.    The Plain Text of the Second Amendment, as Informed by History, Protects

        the Possession of a Machinegun.

  Heller’s Machinegun Dicta

        The government’s argument significantly relies on two remarks made in

  Heller. See 554 U.S. at 624 (characterizing as “startling” the notion that the NFA’s

  restrictions on machineguns might be unconstitutional); id. at 627 (proposing

  hypothetical arguments in a hypothetical case challenging a ban on M-16s). The

  government argues that this dicta makes “clear that the Second Amendment does not

  extend to machineguns like M-16s,” Aple. Br. at 14, and that DeWilde “offers no

  basis on which to ignore that limitation.” Id. at 16. These arguments have no merit.




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           Prior to authoring Heller’s dicta that the government relies on, Justice Scalia

  opined that “[d]ict[a] settles nothing, even in the court that utters it.” Jama v.

  Immigration and Customs Enforcement, 543 U.S. 335, 352 n.12 (2005). He then

  reemphasized this principle in Heller, writing that “[i]t is inconceivable that [the

  Supreme Court] would rest [it’s] interpretation of the basic meaning of any guarantee

  of the Bill of Rights upon… dict[a] in a case where the point was not at issue and

  was not argued.” 554 U.S. at 625, n.25. Such an interpretation is exactly what the

  government tries to make here. The government relies on dicta in Heller that bore

  no relation to the holding in Heller; indeed, if Heller’s dicta explicitly stated the

  opposite of what the government argues (e.g., that machineguns are protected arms),

  such dicta could only have supported Heller’s holding that the possession of

  handguns may not be prohibited. The Supreme Court did not even mention, much

  less consider, the statute challenged in the instant case. In addition to the Supreme

  Court rejecting such a dispositive interpretation of dicta, the machinegun dicta in

  Heller is not recent, and it has never been repeated nor endorsed by the Supreme

  Court.

           Heller did not determine that M-16 rifles “may be banned.” 554 U.S. at 627.

  The Court merely analogized a hypothetical challenge and argument (which is

  distinctly similar to the instant case), as it often does, to support the conclusion that

  “the fact that modern developments have limited the degree of fit between the

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  prefatory clause and the protected right cannot change our interpretation of the

  right.” Id. at 627-628. Thus, when the government argues, Aple. Br. at 37 (quoting

  id.), that machineguns may be banned because “no amount of small arms could be

  useful against modern-day bombers and tanks,”5 its argument is invalid, because

  such an ahistorical conjecture “cannot change our interpretation of the right.” 554

  U.S. at 628. The Court surely included this passage to maintain that arguments about

  the relevance of the prefatory clause given modern technological advancements have

  no historical basis in nullifying the text. Such invalid arguments are precisely what

  the government makes here.

        “[T]he Supreme Court’s dicta is almost as influential… as its holdings,”

  United States v. Nixon, 919 F.3d 1265, 1273 (10th Cir. 2019). But “almost as

  influential” necessarily ascertains that some dicta fall short of holdings. To be sure,

  prior to Bruen, the government’s reliance on Heller’s dicta was concerning to courts,

  because that “dict[a] inhibit[ed] lower courts from exploring the contours of Heller


  5
    Heller qualified this argument, saying that “it may be true.” 554 U.S. at 627
  (emphasis added). Indeed, like Heller’s other enfeebled dicta the government relies
  on, the Court gave no consideration to whether or not “small arms could be useful
  against modern-day bombers and tanks.” Id. Surely if such an inquiry was earnestly
  before this Court, and it was relevant or permissible, examples could be provided of
  occasions, between the time Heller was decided and the present, where America’s
  enemies found that small arms were, in fact, useful against forces that employed
  modern bombers and tanks. But no such inquiry must be supported here; the
  Supreme Court has rejected the government’s argument, and this Court should do
  the same.
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  and its application to firearm restrictions.” United States v. McCane, 573 F.3d 1037,

  1048 (10th Cir. 2009) (Tymkovich, T., concurring). But Heller’s dicta is now

  enfeebled by Bruen’s clarification, which is that identification of protected conduct

  at the first prong of a Second Amendment challenge consists of a strictly “textual

  analysis.” Bruen, slip op. at 10. As such, this Court may no longer “simply reference

  the applicable Heller dictum and move on.” McCane, 573 F.3d at 1050 (Tymkovich,

  T., concurring). It must “apply” the “Second Amendment [test]” clarified by Bruen.

  Id.

        The government argues that this Court should hold Heller’s machinegun dicta

  in the same regard as Heller’s list of “longstanding prohibitions.” See Aple. Br. at

  16 (identifying two cases where this Court upheld the federal felon-in-possession

  statute on the basis of Heller’s longstanding prohibitions, and arguing that “[t]he

  same approach is warranted with respect to the federal machinegun ban here.”) But

  the government’s argument contradicts itself. DeWilde provided several post-Bruen

  authorities that supports the argument that Bruen enfeebled Heller’s “longstanding

  prohibitions” dicta, which Heller identified only as “presumptively lawful.” See

  Aplt. Br. at 20-21. Because DeWilde provided this support, the government on the

  next page argues that the “‘presumptively lawful” language [referring to the

  longstanding prohibitions] does not qualify Heller’s discussion of the machinegun

  ban and has no bearing on DeWilde’s facial challenge.” Aple. Br. at 17 n.4.

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        Thus, the government argues that Heller’s machinegun dicta should be

  regarded as one of the identified longstanding prohibitions, but that it should not

  receive the status of “presumptively lawful” that those prohibitions received. The

  government cannot have it both ways, but this Court need not decide which of the

  government’s arguments to accept; it should reject them both. Because the first

  prong of Bruen has been clarified to be a strictly textual analysis, it can no longer be

  simply posited that enfeebled dicta may classify an arm as not protected by the

  Second Amendment. The textual analysis requires that it be determined whether or

  not a weapon is an “arm.”

        This conclusion finds support in Heller. The Court did not profess its opinion

  as being the end of the matter. Contrarily, the Court acknowledged that it did “not

  provid[e] extensive historical justification for those regulations of the right that [the

  Court] described as permissible,” e.g., the Court’s list of longstanding prohibitions.

  That is because Heller “represents [the] Court’s first in-depth examination of the

  Second Amendment.” 554 U.S. at 635. The Court emphasized that “there will be

  time enough to expound upon the historical justifications for the exceptions [it has]

  mentioned.” Id. This case represents just one of those occasions.




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  Dangerous and Unusual

        The government posits that machineguns may be banned because they are

  dangerous and unusual weapons as mentioned in Heller’s dicta. This argument fails

  for similar reasons as the government’s erroneous reliance on Heller’s machinegun

  dicta. The Court merely mentioned, once, a reference to the “historical tradition of

  prohibiting the carrying of ‘dangerous and unusual weapons.’” Id. at 627. Far from

  being necessary to the Court’s holding, this dictum, taken in context, simply

  attempted to place a limit on its holding. The Court articulated that it did “not

  undertake an exhaustive historical analysis [in Heller] of the full scope of the Second

  Amendment,” id. at 626, and Bruen repeated this approach. See Bruen, slip op. at 12

  (quoting Heller, 554 U.S. at 627).

        Further, to the extent that the government tries to draw a line between Heller’s

  dangerous and unusual dictum and machinegun dicta, such an interpretation would

  be enfeebled by Bruen. The government essentially posits that a “historical tradition

  of prohibiting the carrying of ‘dangerous and unusual weapons’” would support the

  modern ban on possession of machineguns. 554 U.S. at 627 (emphasis added); see

  Aple. Br. at 16-17 (explaining that the dangerous and unusual dicta “left no doubt”

  that M-16 rifles may be banned); see also id. at 30 (“There is no reason why

  restrictions on the manner of carrying firearms… cannot fairly support prohibitions

  on the possession of firearms.” (emphasis added)). But Bruen clarified that a
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  historical tradition only supports a modern law if they both impose the same

  “comparable burden.” Bruen, slip op. at 20 (emphasis added). A burden on the

  carrying of arms is not comparable to a burden on the possession of arms. See infra

  at 21 n.10 (explaining why burdens on carrying and possessing arms are not

  comparable).

        Moreover, the government is incorrect to argue that Heller’s dangerous and

  unusual authorities, if they were acceptable historical analogues, would come in to

  play when performing the strictly textual analysis of the Second Amendment. Heller

  itself identified the historical tradition of prohibiting the carrying of dangerous and

  unusual weapons. See id. at 627. Heller did not reference the dangerous and unusual

  authorities when conducting the textual analysis of the Second Amendment. The

  Court reiterated this approach in Bruen, and then actually performed analysis of the

  authorities at the second prong. See Bruen, slip op. at 37-38. Bruen, again, did not

  consider the historical tradition of prohibiting the carrying of dangerous and unusual

  weapons at the textual analysis. The government’s argument is especially capricious

  in the instant case when it applies the tradition of prohibiting the carrying of

  dangerous and unusual weapons at both prongs.




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  Limiting Principle

        The government argues that Heller’s recognition that the Second Amendment

  protects “all instruments that constitute bearable arms” is not a “reasonable” limiting

  principle. Heller, 554 U.S. at 582; see also Aple. Br. at 38 (suggesting that “rocket-

  propelled grenade launchers, anti-tank weapons, guided missiles, or suitcase bombs”

  may be protected). But neither the government nor this Court is permitted to decide

  if Second Amendment rights are reasonable, because Heller squarely rejected any

  type of “freestanding ‘interest-balancing’ approach” in the context of the Second

  Amendment, 554 U.S. at 634:

        The very enumeration of the right takes out of the hands of government—

        even the Third Branch of Government—the power to decide on a case-by-

        case basis whether the right is really worth insisting upon. A constitutional

        guarantee subject to future judges’ assessments of its usefulness is no

        constitutional guarantee at all. Constitutional rights are enshrined with the

        scope they were understood to have when the people adopted them, whether

        or not future legislatures or (yes) even future judges think that scope too broad.

  Id. at 634-635.

        Bruen, affirming Heller, made clear that the Second Amendment “‘is the very

  product of an interest balancing by the people,’ and it ‘surely elevates above all other


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  interests the right of law-abiding, responsible citizens to use arms’ for self-defense.”

  Bruen, slip op. at 17 (quoting 554 U.S. at 635).

        Furthermore, while the government correctly identifies bearable arms that

  may be protected at Bruen’s first prong, it provides no justification for such a

  limitation being unreasonable. The argument also is not attuned with reality, because

  there is no prohibition of the possession of any of the bearable arms it identifies, and

  the government provides no evidence of a single crime having been committed with

  the arms, much less of the arms presenting any general societal problem. To be sure,

  possession of those bearable arms is substantially controlled; all of them are

  classified and regulated as destructive devices under the NFA. See 26 U.S.C. §

  5845(f). But the legal status of the destructive devices that the government suggests

  are protected under Heller’s limiting principle—specifically, the fact that there

  exists a lawful method to possess them—simply highlights the egregiousness of the

  machinegun ban.

  Common Use

        The government argues that Heller found that the “arms” identified in the

  Second Amendment’s text only refers to arms “in common use.” Aple. Br. at 18-19

  (citing 554 U.S. at 624-25). But pointing to a historical tradition is not how a

  “textual analysis” works, and the Supreme Court made no such determination. While


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  Heller reaffirmed that arms in common use are protected, the common use test is

  just one method of protection; it is not a minimum threshold question. Accordingly,

  Heller held that handguns were protected arms because they were in common use,

  not that handguns were “arms” because they were in common use.

        The government attempts to circumscribe this holding to say that the common

  use test only applies to arms possessed by the citizenry. See Aple. Br. at 36 (“There

  is no suggestion in Heller, Bruen, or any other opinion that the issuance of a firearm

  to members of the military in active service counts for this inquiry, which concerns

  the constitutional rights of private people as individuals”). But the government’s

  argument ignores Miller’s historical conclusion derived “from the debates in the

  Convention, the history and legislation of Colonies and States, and the writings of

  approved commentators.” Miller, 307 U.S. at 179 (1939). The Court found that

  “ordinarily when called for [militia] service [able-bodied] men were expected to

  appear bearing arms supplied by themselves and of the kind in common use at the

  time.” Id. Thus, the Miller Court focused on whether the arm at issue, for purposes

  of bringing arms to militia service, was commonly used by the U.S. military. Miller,

  employing the common use test, did not even consider whether or not the weapon at

  issue was commonly used amongst the citizenry.

        Importantly, the government’s interpretation of the common use test lacks any

  limiting principle with respect to what future arms a legislature may ban. Under such
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  circular logic, Congress could simply ban the possession of any new arms because

  they are not commonly possessed by the citizenry. But Heller rejected such a notion

  when the Court affirmed that “the Second Amendment extends, prima facie, to all

  instruments that constitute bearable arms, even those that were not in existence at

  the time of the founding.” 554 U.S. at 582 (emphasis added). The Supreme Court

  thus recognized that technological advancements occur, and that new weapons

  resulting from those advancements are protected. See also Bruen, slip op. at 39 (even

  if an arm were dangerous and unusual, its common usage protects its possession).

         Indeed, "it would be absurd to say that the reason why a particular weapon

  can be banned is that there is a statute banning... it, so that it isn't commonly owned.

  A law's existence can't be the source of its own constitutional validity." Friedman v.

  City of Highland Park, 784 F.3d 406 (7th Cir. 2015). But in an incredible

  endorsement of this circular logic, the government emphatically argues that

  machineguns may be banned because they are not “in common use,” Aple. Br. at 18,

  because “[w]ith the ban on new machineguns, th[e] number [of machineguns in

  common use] can only decrease over time,” so they “are not typically possessed for

  lawful use [and in common use]” and can thus be banned. Aple. Br. at 33. The

  government’s interpretation of the common use test is untenable, and this Court

  should reject it.



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        Finally, far from the textual analysis at the first prong, Heller found the

  common use test in Miller while considering the historical tradition of prohibiting

  the carrying of dangerous and unusual weapons. See 554 U.S. at 627. The common

  use test in Miller was derived from the “traditional militia” bringing “arms ‘in

  common use.’” Id. at 624 (emphasis added). Thus, the government is incorrect to

  argue that, at the first prong of Bruen, a showing must be made demonstrating the

  historical tradition of bringing arms in common use to militia service.

  Protected Arms

        This Court should have no difficulty concluding that machineguns are “arms”

  according to the plain text of the Second Amendment, and the right to keep

  machineguns is thus presumptively constitutional under the first prong of Bruen.

  This strictly textual analysis, informed by history, is “straightforward,” and the

  historical traditions provided by the government may only be considered at the

  second prong of Bruen’s analysis. Bruen, slip op. at 17. “But if the historical

  evidence at this step is “inconclusive or suggests that the regulated activity is not

  categorically unprotected,” the Supreme Court has directed this Court to “proceed

  to step two.” Id. at 9 (citations omitted).




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  B.       The Machinegun Ban is Not Consistent with This Nation’s Historical
           Traditions of Regulating Arms.

           Searching for analogues to evince a historical tradition of totally banning this

  Nation’s standard-issue service rifle at Bruen’s second prong, the government

  provides 194 authorities. See generally Aple. Br. at 20-32. But the government

  provides only eight authorities from the controlling time-period in this challenge, the

  Founding.6 Importantly, none of those eight authorities demonstrates a historical

  tradition that the government avers exists. Crucially, neither the how nor why of the

  machinegun ban is “comparable” to those of the government’s proffered authorities;

  “at least” both metrics must be “relevantly similar”. Bruen, slip op. at 20.

  The How

           The how of the machinegun ban is affected by imposing a total ban on the

  possession of an arm by all of the citizenry. Of the Founding time-period authorities

  the government provides, zero of them impose such a sweeping prohibition. The acts

  provided from the correct time-period criminalized the carrying of arms by a

  narrowly-tailored subset of the population; those who had committed the offense of

  an affray. They certainly did not disarm law-abiding citizens.




  6
      See infra at 19-22.
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  The Why

        Comparing the why of those authorities demonstrates even more disparity.7

  The government does not adequately explain why the machinegun ban was enacted.

  Its argument is particularly skewed when it conflates the history and background of

  the NFA and congressional reports to support the machinegun ban.8 None of this

  history advanced by the government supports the statute at issue in the instant case.

  The government provides not a single indication of why Congress, nearly a half-

  century after passing the NFA, codified the machinegun ban. There were no

  hearings, no floor debate, and there was no recorded vote. Looking at the text of the

  short statute, the government posits that because it “exempts machineguns possessed

  or transferred by… the United States military,” the ban’s text is simply Congress

  recognizing that machineguns are only used by the military. Aple. Br. at 38. A better

  reading of this text is surely that Congress preferred not to disarm the United States




  7
    Notably, the government does not identify the “why” for each of its proffered
  historical authorities. Instead, in its only explicit explanation of the “why,” the
  government sweeps its historical authorities together as one, saying that the weapons
  in all 194 of its historical authorities “have been determined not to be typically
  possessed by law-abiding citizens for lawful use.” Aple. Br. at 31. But the
  government does not provide a single reference in support of this claim, much less
  194 references, such as legislative discussions, reports, hearings, judicial opinions
  or actions, or even statutory text. To be sure, those references certainly exist.
  However, they simply are not “relevantly similar” to the “why” of the machinegun
  ban, and are blatantly absent from the government’s brief. Bruen, slip op. at 20.
  8
    See generally Aple. Br. at 31-32, 37.
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  military. But even if such an assumption was made about this exemption, it is not

  comparable to the why of the historical authorities provided by the government.

  Pre-Founding

        The government identifies the 1328 Statute of Northampton as supporting the

  prohibition of “riding or going armed, with dangerous or unusual weapons.” Aple.

  Br. at 20 (citations omitted). But Bruen cautioned against giving this statute much

  consideration, saying that “the Statute of Northampton… has little bearing on the

  Second Amendment adopted in 1791.” Bruen, slip op. at 32.

  Founding

        The government provides two acts criminalizing the common-law offense of

  affray from the controlling time-period in this challenge. While Bruen “doubt[ed]

  that [just] three colonial regulations could suffice to show a [historical] tradition,”

  Bruen, slip op. at 37, the Court still evaluated them “on their own terms.” Id. The

  Act of Nov. 27, 1786, ch. 21 (Virginia) and Act of Jan. 29, 1795, ch. 2

  (Massachusetts) were both enacted near the time of the Second Amendment’s

  adoption in 1791. In these statutes, the two commonwealths codified the common-

  law offense of affray.

        Analyzing the how of the acts, they criminalized the manner in which

  dangerous arms were carried: unusually and to the terror of the people. They did not

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  prohibit the possession of any arm (much less any specific type of arm). They were

  also narrowly-tailored, applying only to those who committed an affray. 9 But in a

  far more sweeping manner, the machinegun ban totally prohibits the possession of

  arms, even by law-abiding citizens.

        Furthermore, the why of these statutes also are not “relevantly similar.” Bruen,

  slip op. at 20. As described supra at 18-19, the government has not identified why

  the machinegun ban was codified, but there is no basis in the assumption that it was

  to criminalize the unusual display of a firearm to terrorize the people. The how and

  why of the affray statutes thus are not “relevantly similar” to the machinegun ban.

  Bruen, slip op. at 20.

        The government posits that these two acts are “similar” to “early American

  justice-of-the-peace manuals” which permitted “justices to confiscate the arms of a

  person who ‘arm[ed] himself with dangerous and unusual weapons, in such a manner

  as will naturally cause a terror to the people.’” Aple. Br. at 21 (citations omitted).



  9
   It should be observed that the government does not contend that the two affray acts
  would have resulted in the violators being disarmed or otherwise prohibited from
  possessing arms. This is especially troubling since disarmament is “how” the
  machinegun ban affects protected Second Amendment conduct. Indeed, the
  government provides no evidence of the acts even being enforced. The Supreme
  Court has rejected historical authorities as unacceptable analogues under similar
  circumstances. See Bruen, slip op. at 49-50 (“[R]espondents offer little evidence that
  authorities ever enforced surety laws. The only recorded case that we know of… is
  surely too slender a reed on which to hang a historical tradition of restricti[ons].”)
                                           20
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  These authorities fail for the same reasons as the two affray acts. The how and the

  why of the manuals are not “relevantly similar” to the machinegun ban. Bruen, slip

  op. at 20.

        The government argues that “even if some statutes only restricted the manner

  of carrying firearms, DeWilde does not explain why those statutes would not support

  a tradition of prohibitions on the possession of weapons.” Aple. Br. at 30-31.10 The

  government’s argument is misplaced. To justify a presumptively unconstitutional

  statute, “the government must demonstrate that the regulation is consistent with this

  Nation’s historical tradition of firearm regulation.” Bruen, slip op. at 8. Thus, the

  government is not permitted to recast its burden onto DeWilde to show the absence

  of “a tradition of prohibitions on the possession of weapons.” Aple. Br. at 30-31.

  The burden is on the government to demonstrate “a tradition of prohibitions.” Id. If

  the government is unable to do so, as is the case here, that failure “is relevant




  10
     The government argues that laws regulating the carrying of firearms should
  support a total ban on the possession of firearms. Such argument contradicts Bruen.
  That case challenged a total ban on the carrying of firearms. The affray statutes,
  offered as historical analogues in Bruen, criminalized the manner in which arms
  were carried. Upon consideration, the Supreme Court determined that the how of
  the affray statutes did not support a total ban on carrying firearms. See generally
  Bruen, slip op. at 36-38. Accordingly, the government’s argument that the how of
  the affray statutes would support a total ban on firearm possession, conduct even
  more divergent than that at issue in Bruen, carrying, is erroneous.
                                           21
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  evidence that the challenged regulation is inconsistent with the Second

  Amendment.” Bruen, slip op. at 17.

        Because the government has provided no acceptable historical analogues

  originating at the Founding, no later authorities provided by the government sustain

  any claimed tradition, because “to the extent later history contradicts what the text

  says, the text controls.” Bruen, slip op. at 27. Since courts are “entitled to decide a

  case based on the historical record compiled by the parties,” this Court may end its

  analysis here and find that the machinegun ban is unconstitutional. Bruen, slip op.

  at 17 n.6. Nevertheless, because the government’s brief represents the first occasion

  in this case where a party has attempted to demonstrate a historical tradition of totally

  banning the possession of this Nation’s standard-issue service rifle, DeWilde, for

  completeness, will consider the remaining authorities provided by the government.

  Post-Founding

        Of the post-founding authorities provided by the government, only Heller’s

  dangerous and unusual authorities follow from the founding-era affray authorities it

  proffered. See Aple. Br. at 22. Of course, the founding-era affray authorities are not

  acceptable historical analogues, and so Heller’s authorities likewise are not

  acceptable for the same reasons.




                                             22
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         Looking to antebellum laws, the government identifies several statutes

  regulating bowie knives, blunt weapons, and other non-firearms. See generally Aple.

  Br. at 23-26, 28. All of these statutes are from the wrong time period. The

  government does not demonstrate that the regulations followed a tradition

  originating at the time of the Founding. Furthermore, the government is particularly

  wrong to point to statutes regulating non-firearms, when Bruen and the instant case

  both implicate firearms. Bruen could not have been clearer about the government’s

  burden: it is to identify a comparable tradition of firearm regulation. Bruen affirmed

  this three times.11 For either reason, these statutes do not support a historical tradition

  supporting the total prohibition of machinegun possession.

         The government’s statutes criminalizing trap guns also come from the wrong

  time period. See Aple. Br. at 27. And even if given credit, the how and why of the

  trap gun statutes were not “relevantly similar” to the machinegun ban. Bruen, slip

  op. at 20. Unlike the machinegun ban, the how of which is to totally ban the

  possession of an arm, the trap gun statutes simply criminalized the manner in which




  11
    See Bruen, slip op. at 8 (“the government must demonstrate that the regulation is
  consistent with this Nation’s historical tradition of firearm regulation”) (emphasis
  added); id. at 15 (“[t]he government must then justify its regulation by demonstrating
  that it is consistent with the Nation’s historical tradition of firearm regulation.”)
  (emphasis added); id. at 25 (“the burden falls on respondents to show that [the
  regulation] is consistent with this Nation’s historical tradition of firearm
  regulation.”) (emphasis added).
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  guns may be used, specifically by setting or otherwise configuring a weapon in the

  form of a trap. As to the why, the government does not identify why either the

  machinegun ban or the trap gun statutes were codified. For these reasons, the trap

  gun statutes are impermissible as historical analogues to the machinegun ban.

  Late-19th and Early-20th Centuries

        At the least-relevant time-period in the historical analysis, the government

  points to state-level machinegun bans. But “20th-century evidence… does not

  provide insight into the meaning of the Second Amendment when it contradicts

  earlier evidence.” Bruen, slip op. at 58. As such, Bruen rejected analysis of those

  authorities. This Court should do the same.

  No Historical Tradition

        The government suggests that “machineguns became a ‘general societal

  problem’ after World War I.” Aple. Br. at 28 (citing Bruen, slip op. at 17). This is a

  misreading of Bruen. The Court did not suggest that protected Second Amendment

  conduct (e.g., possession of arms) may be construed as a problem. Rather, the Court

  acknowledged that the abuse of a right may present a problem. Indeed, the

  government provides no evidence in its brief that an object, protected arms,

  presented a general societal problem. Rather, the government argues that

  machineguns are “‘used… by criminals or gangsters,’” “‘used by racketeers and


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  drug traffickers,’” and “‘likely to be used for criminal purposes.’” Aple. Br. at 31-

  32 (citations omitted) (emphasis added). Thus, it is the abuse and misuse of protected

  arms that may be perceived (and should be evidenced) as a general societal problem.

  One could assume (although it finds no support in the “record compiled by the

  parties,” Bruen, slip op. at 17 n.6, and this Court accordingly should not make such

  an assumption) that the machinegun ban was enacted as a method of mitigating

  violent crime. But such an unfounded assumption has certainly persisted as a

  “general societal problem” since well beyond “the 18th century.” Id. at 17.

  Nevertheless, nowhere in the government’s brief does it sufficiently identify the

  “general societal problem” that the machinegun ban was codified to mitigate.

        The government observes, Aple. Br. at 35, the Ninth Circuit’s analysis in Teter

  v. Lopez, No. 20-15948 (9th Cir. Aug. 7, 2023), which considered “whether the

  weapons at issue in that case were ‘not typically possessed by law-abiding citizens

  for self-defense.’” (quoting Teter, slip op. at 22). But this observation does not help

  the government’s case. In Teter, the Ninth Circuit concluded that the government

  “has submitted no evidence that [the weapon at issue is] not typically possessed by

  law-abiding citizens for self-defense.” Teter, slip op. at 22. This is because such a

  showing must be made by the government. Here, the government also has provided

  no evidence that machineguns are not typically possessed by law-abiding citizens

  for self-defense. Contrarily, DeWilde has demonstrated that 175,977 machineguns

                                            25
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  are possessed by law-abiding citizens, one of which he possesses. See ROA at 167

  (identifying at least 175,977 machineguns lawfully possessed by the citizenry); see

  also ROA at 280 (evidence of DeWilde’s lawful possession of a machinegun). This

  Court should likewise find that the government “has submitted no evidence that

  [machineguns] are not typically possessed by law-abiding citizens for self-defense.”

  Teter, slip op. at 22.

         To the extent that Teter’s analysis may invoke the common use test, such an

  argument would also contravene the government’s case. Teter did not invoke any

  kind of inquiry as to the number of weapons possessed by law-abiding citizens. Teter

  simply acknowledged that “[m]ost notably… [the weapons at issue] may be used for

  self-defense.” Id. It is difficult to imagine the same isn’t true for M-16s, since they

  are the standard-issue service rifle for the U.S. military. Nonetheless, “[the

  government] has submitted no evidence” to the contrary. Id.

         The government argues that when a restriction conflicts with the prefatory

  clause, it may be valid “even though it does not yield parity between the people and

  the government,” Aple. Br. at 37, and that “[a]s historically understood, the general

  militia and standing armies were not the same.” Id. at 36. The government argues

  that DeWilde’s explanation of the purpose of the prefatory clause and its relationship

  to the operative clause to support the protection of the standard-issue service weapon

  for the U.S. military, Aplt. Br. at 15-16, “lacks merit.” Aple. Br. at 36-37. But it is
                                            26
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  certainly the government’s arguments that are without merit, because it provides no

  historical reference, source, or evidence to support its quarrel with the historical

  authority of DeWilde’s argument nor Heller’s analysis of the same.

        While the government provides no historical support for these historical

  understandings, actual history supports the opposite of the government’s argument.

  James Madison wrote to ease the concerns of the people concerning the creation of

  a standing army. He hypothetically compared the proposed army’s “twenty-five or

  thirty thousand men” to the militia “amounting to near half a million of citizens with

  arms in their hands.” The Federalist No. 46 (James Madison). Revealing his beliefs,

  he asserted “[i]t may well be doubted, whether a militia thus circumstanced could

  ever be conquered by such a proportion of regular troops.” Id. Madison never

  indicated, nor did any other founder or commentator, that the militia would possess

  arms not at parity with those of the standing army. The militia was always envisioned

  to be equally as capable as a standing army. Thus, to the only plausible extent that

  “the general militia and standing armies were not the same,” it was that the militia

  was the superior force of the two. Aple. Br. at 36. With this understanding, and as a

  representative of the people of the Founding generation, Madison drafted the Second

  Amendment. Miller, Heller, and Bruen are entirely consistent with this history.

        “The Constitution leaves the [government] a variety of tools for combating

  [gun violence].” Heller, 554 U.S. at 636. When Congress first contemplated
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  regulating machineguns, the Attorney General was questioned as to whether or not

  the government possessed such powers. Attorney General Cummings advised

  Congress that “if we made a statute absolutely forbidding any human being to have

  a machine gun, you might say that there is some constitutional question involved.

  But when you say ‘[w]e will tax the machine gun…’ you are easily within the law”.12

  Indeed, the NFA has stood for almost a century as a permissible regulation of

  protected arms, and DeWilde simply desires to comply with its stringent

  requirements. But in the spirit of former Attorney General Cumming’s

  acknowledgement, “the enshrinement of constitutional rights necessarily takes

  certain policy choices off the table.” Heller, 554 U.S. at 636. The Supreme Court

  has determined that “[t]hese include the absolute prohibition of [arms].” Id.




  12
   National Firearms Act: Hearings Before the House Committee on Ways and
  Means, 73rd Cong., 2d Sess., 8 (1934).
                                           28
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                                    CONCLUSION

        For the reasons stated above and in DeWilde’s opening brief, the Court should

  vacate and reverse the order and judgment of the district court.

  DATED this 12th day of November, 2023.        Respectfully Submitted,

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